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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                        :
                                                :
        v.                                      :        Case No. 21-CR-83 (TNM)
                                                :
BRANDON FELLOWS,                                :
                                                :
                 Defendant.                     :

  GOVERNMENT’S THIRD MOTION TO REVOKE DEFENDANT’S PRETRIAL RELEASE

        On May 5, 2021, Pretrial Services Agency (“PSA”) filed a Pretrial Violation Report on May 5,

2021 (ECF Doc. No. 23). The violations were addressed during the status conference on May 6, 2021. The

Court allowed defendant to remain on pretrial release but modified the conditions to require home

confinement (ECF Dkt. Minute Entry May 6, 2021). On May 26, 2021, PSA filed a second Pretrial

Violation Report (ECF Doc. 26) recommending Defendant Brandon Fellows (“the defendant”) be removed

from PSA courtesy supervision in the Northern District of New York. The United States filed a second

Motion to Revoke on May 27, 2021 (ECF Doc. 27). After a hearing held June 4, 2021, the Court allowed

defendant to remain free, but ordered a mental health evaluation and follow all treatment recommendations

(ECF Dkt. Minute Entry, June 4, 2021). On June 14, 2021, PSA filed a third Pretrial Violation Report (ECF

Doc. 29) recommending that a warrant be issued and scheduling a hearing once the warrant is executed.

The Government concurs with the recommendation of PSA that a warrant be issued.

                                           BACKGROUND

        The defendant was charged by Complaint on January 15, 2021, with violating Title 18, U.S.C.

§ 1752(a)(knowingly entering or remaining in any restricted building or grounds without lawful authority)

and Title 40, § 5104(e)(2)(violent entry or disorderly conduct), misdemeanors concerning his presence

and actions during the January 6, 2021 riots at the Capitol Building (ECF Doc. 1, Complaint). Defendant

was arrested on January 16, 2021, in Albany, New York (Doc. 8 at 1, Returned Arrest Warrant). On

January 16, 2021, defendant had a first appearance, and was released on bond in the Northern District of


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New York (Id. at 23, Order to Release; 25-26, Minute Entry). The Magistrate Judge set another hearing in

order to first review a Pretrial Services report to decide if the defendant was a flight risk 1 under Title18,

U.S.C. § 3142(f)(2(A) (Id. at 23, Order to Release; 25-26, Minute Entry). The Court decided to release

the defendant, but ordered certain conditions including home detention and electronic monitoring (Id. at

21, Conditions of Release).

         On February 3, 2021, the defendant appeared before Magistrate Judge Robin M. Meriweather via

video and was placed on GPS monitoring and a curfew of 9:00 p.m. to 6:00 a.m. (Doc. 9 at 2, Order

Setting Conditions of Release). Magistrate Judge Meriweather further ordered that the defendant actively

seek or maintain employment and report any contact with law enforcement (Id.).

         On February 5, 2021, the a grand jury indicted the defendant on the four misdemeanors and added

a felony violation under Title 18, U.S.C. §§ 1512(d)(2) and 2 for Obstruction of an Official Proceeding

and Aiding and Abetting the same (ECF Doc. 6).

         In support of its recommendation in the June 14, 2021 violation report, PSA relayed that defendant

had a mental evaluation appointment for 11:00 am today (June 14, 2021), but called the agency and

cancelled because he was not feeling well. When the USPO officer talked with him he asked to be able to

work, despite “not feeling great.” He was told no, then asked the USPO officer “have you checked your

hormones.” He was called again, directed to report to the US Probation officer by the supervisory USPO

at 3:45 June 14, 2021.

         Shortly after that last call, the USPO officer learned that a man had called the USPO’s mother, who

lives in another state, and the man was asking for the USPO and asked twice if that was the correct number

for the USPO, using the full name of the officer. The mother offered to pass a message to the USPO, and

the caller said he would just contact the USPO on their “other numbers”. Caller ID identified the caller’s

number as the same number used by Defendant to contact US Probation for official business.




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  According to the agents and reports in this case, the defendant had told the FBI he would self-surrender but failed
to do so causing law enforcement to search for him by obtaining legal process for real time location information.

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        Lastly, USPO indicated a prior instance when Defendant was allegedly harassing a former

girlfriend. Ultimately Defendant was found to be in violation of an Order of Protection. When the clerk of

the court tried to call Defendant at the number he had listed as his contact on official court records, the

number was forwarded to the Judge’s wife’s office.

        For all the reasons stated above, the Government respectfully requests that the Court issue a warrant

per the request of PSA, revoke the defendant’s release pending trial, and hold a revocation hearing.

                                          ARGUMENT AND LAW

        Under 18 U.S.C. ' 3148(a), “[a] person who has been released under section 3142 of this title, and

who has violated a condition of his release, is subject to a revocation of release.” Specifically, “[t]he judicial

officer shall enter an order of revocation and detention if, after a hearing, the judicial officer finds under

§ 3148(b)(1) that there is -- . . . (A) probable cause to believe that the person has committed a Federal, State,

or local crime while on release; or (B) clear and convincing evidence that the person has violated any other

condition of release; and (b)(2) finds that (A) based on the factors set forth in section 3142(g) . . ., there is

no condition or combination of conditions of release that will assure that the person will . . . pose a danger

to the safety of any other person or the community; or (B) the person is unlikely to abide by any condition

or combination of conditions of release.” 18 U.S.C. ' 3148(b).

        In this case, the defendant has for the third time, abused the privilege given to him by the Court in

allowing release. Firstly, the day after the May 6th status hearing, the defendant failed to call in to see if he

was to report for a UA for four (4) days straight. In the almost four (4) months since he has been on release,

the defendant has consistently violated the conditions of bond, and continues to disrespect his supervising

officer and the Court’s orders. He failed to report as directed, failed to call in, and most concerning, left a

voicemail for the supervising officer that was totally inappropriate.

        Now, ten (10) days after the second revocation hearing on June 4th , the defendant canceled the

evaluation scheduled by the Court’s order. More importantly he spent the time to locate his USPO’s

mother’s telephone in order to intimidate the US Probation Officer, and to harass the Officer’s mother. The

allegations in the Petition show a pattern of intimidation and harassment by this defendant. As such, he is

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a “danger to the safety of any other person or the community.” 18 U.S.C. § 3148(b)(2)(A), as well as being

violation of the Court’s order that he obtain a mental health evaluation. Id. at (b)(2)(B).

        The defendant had ample opportunities to respect the government and Court’s trust in his release

pending trial, but has none gone past ignoring the court and into the dangerous areas of intimidation and

harassment. As such the United States agrees that he poses a threat to the community, supports the issuance

of the warrant requested, and moves for the defendant’s revocation of his pre-trial release status pursuant

to provisions of 18 U.S.C. § 3148(b).

                                                           Respectfully submitted,

                                                           CHANNING PHILLIPS
                                                           Acting United States Attorney
                                                           D.C. Bar No. 415793

                                                   By:     /s/ Mona Lee M. Furst
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                                        CERTIFICATE OF SERVICE

         On this 14th day of June, 2021, a copy of the foregoing was served on counsel of
 record for the defendant via the Court’s Electronic Filing System.
                                                              /s/Mona Lee M. Furst
                                                   Mona Lee M. Furst
                                                   Assistant United States Attorney




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